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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

                                                   CASE NO.:
ALDO CIPRIANO,

               Plaintiff,
vs.

CUCINA GLORIA, LLC,

               Defendant.
                                               /

        PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, ALDO CIPRIANO (hereinafter “Plaintiff”) files this Complaint against

Defendant, CUCINA GLORIA (hereinafter “Defendant”) for violations of the Fair

Labor Standards Act (hereinafter “FLSA”), the Florida Minimum Wage Act, 26

U.S.C. § 7434(a), and Florida common law, and alleges as follows:

      1. Plaintiff Aldo Cipriano was employed by Defendant from approximately July

2019 until October 16, 2020. He worked out of Defendant’s sole restaurant location,

located at 625 North Tamiami Trail, Suite D, Sarasota, Florida 34275.

      2. Defendant CUCINA GLORIA, LLC is a Florida Limited Liability Company

with a principal place of business at 625 N. Tamiami Trail, Suite D, Nokomis,

Florida 34275.




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                     JURISDICTIONAL ALLEGATIONS

   3. This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §

1331 and 29 U.S.C. § 216(b) because this action involves a federal question under

the FLSA and 26 U.S.C. § 7434(a).

   4. This Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367(a), as the state law claims are related to Plaintiff’s

federal claims, and arise from the same case or controversy as Plaintiff’s federal

claims.

   5. This Court has original and personal jurisdiction over this action because

Defendant is engaged in business within the State of Florida, and the action

complained of occurred in Florida.

   6. Venue is proper in the Tampa Division of the Middle District of Florida

pursuant to 28 U.S.C. § 1391(b)(2) and the Local Rule for the United States Distict

Court, Middle District of Florida 1.02(c) because the events giving rise to these

claims occurred in this jurisdiction and Defendant conducts business in this

jurisdiction.

                              FLSA COVERAGE

   7. At all times material hereto, Defendant was an employer within the meaning

of 29 U.S.C. § 203(d).

   8. At all times material hereto, Defendant has been an enterprise in commerce or



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in the production of goods for commerce within the meaning of 29 U.S.C. §§ 203(r)

and 203(s) of the FLSA because it has employees engaged in commerce.

   9. Furthermore, Defendant has had, and continues to have, an annual gross

business volume in excess of the statutory standard.

   10. At all times material hereto, Plaintiff was an employee of Defendant, who

engaged in commerce or in the production of goods for commerce as required by 29

U.S.C. § 206. For example, employees employed by Defendant cooked and served

food and drinks that were moved in interstate commerce, to customers both from

Florida and outside of Florida.

   11. Plaintiff’s duties as an employee of Defendant consisted primarily of cooking

food for Defendant’s restaurant patrons. Accordingly, Plaintiff was involved in

interstate commerce.

                          GENERAL ALLEGATIONS

   12. Plaintiff was employed by Defendant as their chef in July 2019.

   13. In exchange for his work, Plaintiff was promised $1,200.00 per week in

compensation.

   14. In addition, upon his hiring, the restaurant owner, Mr. Thomas Lupari,

promised that he would cover the costs associated with Plaintiff’s efforts to obtain

U.S. citizenship, and act as a witness on his behalf at any resultant citizenship

hearing.



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   15. Throughout his employment, Plaintiff was an employee in good standing. He

was free for any employee discipline or reprimand. He was never the subject of any

type of employee counseling and was never put on any sort of performance

improvement plan.

   16. Plaintiff worked between ten (10) and twelve (12) hours per day, six days per

week for Defendant. Despite these efforts, Plaintiff was almost never paid the

$1,200.00 per hour he was promised at the time of his hire.

   17. On many weeks, Plaintiff received no pay whatsoever.

   18. On other weeks, Plaintiff would only receive minimal amounts of money (for

example, $200.00).

   19. On or about October 16, 2020, Plaintiff asked Mr. Lupari for a W-2 form to

assist him in filing his annual tax return. In response, Mr. Lupari refused to provide

the document, and immediately thereafter terminated Plaintiff’s employment.

   20. The FLSA requires employers to keep certain records for each non-exempt

worker, in particular, records indicating the amount of hours every such employee

works during each workweek. 29 C.F.R. Part 516.

   21. Through information and belief, Defendant kept no such records regarding the

amount of time worked by Plaintiff in any given workweek, nor required Plaintiff to

take any action in assisting Defendant account for the time he worked.

   22. If no records exist indicating the amount of hours worked by Plaintiff, Plaintiff



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may establish the hours he worked solely by his testimony, and the burden of

overcoming such testimony shifts to the employer. See Anderson v. Mt. Clemens

Pottery Co., 328 U.S. 680 (1946).

   23. Defendant provided only a portion of the agreed upon compensation to

Plaintiff, or no compensation whatsoever, for many workweeks.

   24. Accordingly, during many workweeks, Plaintiff was not compensated at the

federally mandated minimum wage.

   25. Moreover, Defendant failed to classify Plaintiff as any type of employee or

contractor during the entirety of his employment. Defendant has submitted neither a

Form W-2 or a Form 1099, indicating Plaintiff’s status for tax purposes.

   26. As a result, Defendant willfully filed fraudulent information returns with

respect to payments made to Plaintiff.

   27. Defendant knew or should have known that its pay policies with respect to

Plaintiff violated the FLSA, and Defendant did not make a good faith effort to

comply with the FLSA. Rather, Defendant knowingly, willfully, and/or with reckless

disregard of the law, carried out its illegal pattern and practice of requiring Plaintiff

to work in exchange for little to no pay. Defendant’s pay practices with respect to

Plaintiff were not based on a good faith and reasonable belief that its conduct

complied with the FLSA.

   28. In accordance with Florida Statute § 448.110, Plaintiff sent Defendant a notice



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via Certified Mail of his intent to initiate a claim for unpaid minimum wages under

Florida Law. That notice is attached hereto as Exhibit “A.”

   29. After fifteen (15) days elapsed from delivery of the notice, no response was

received by the undersigned.

   30. Plaintiff has satisfied all conditions precedent, or they have been waived.

   31. Plaintiff has hired the undersigned law firm and has agreed to pay them a fee.

       COUNT I: VIOLATION OF THE FLSA’S MINIMUM WAGE
                        REQUIREMENT

      32.   Plaintiff adopts by reference, as if set out fully and completely in this

Count, paragraphs 1-31 of this Complaint.

      33.   Defendant engaged in a pattern, policy and practice of violating the

FLSA, as detailed in this Complaint.

      34.   At all relevant times, Defendant was an employer engaged in interstate

commerce and/or in the production of goods for commerce, within the meaning of

the FLSA, 29 U.S.C. § 203. At all relevant times, Defendant has employed

employees, including Plaintiff.

      35.   Defendant was required by the FLSA to pay directly to Plaintiff the

applicable minimum wages to which he was entitled under the FLSA.

      36.   Defendant failed to pay Plaintiff the minimum wages to which he was

entitled under the FLSA.

      37.   Defendant’s unlawful conduct, as described in this Complaint, has been

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willful and intentional. Defendant was aware or should have been aware that the

practices described in this Complaint were unlawful. Defendant did not make a good

faith effort to comply with the FLSA with respect to the compensation of Plaintiff.

      38.    Because Defendant’s violations of the FLSA have been willful, a three-

year statute of limitation applies.

      39.    As a result of Defendant’s willful violations of the FLSA, Plaintiff has

suffered damages by being denied minimum wages in accordance with the FLSA in

amounts to be determined at trial, and is entitled to recovery of such amounts,

liquidated damages, prejudgment interest, attorneys’ fees, costs, and other

compensation.

                     COUNT II: BREACH OF CONTRACT

      40.    Plaintiff adopts by reference, as if set out fully and completely in this

Count, paragraphs 1-31 of this Complaint.

      41.    In or around July 2019, Defendant offered to pay Plaintiff $1,200.00

per week in exchange for Plaintiff’s work as a chef at Defendant’s restaurant.

      42.    Plaintiff accepted Defendant’s offer, and began working at Defendant’s

restaurant as its chef immediately thereafter.

      43.    Adequate consideration existed to support the formation of a valid,

binding contract.

      44.    Defendant breached this contract by failing to pay Plaintiff $1,200.00



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per work in exchange for his work.

      45.    As a result of Defendant’s breach, Plaintiff has suffered damages,

including actual damages, expectation damages, and consequential damages, in

amounts to be determined at trial.

    COUNT III: VIOLATION OF FLORIDA’S MINIMUM WAGE ACT

      46.    Plaintiff adopts by reference, as if set out fully and completely in this

Count, paragraphs 1-31 of this Complaint.

      47.    Under Florida Statute § 448.110, all employees employed by employers

in the years 2019 and 2020 were to receive a minimum wage of at least $8.56 per

hour for each hour worked during each workweek.

      48.    As detailed in this Complaint, during many workweeks, Plaintiff

received little or no compensation whatsoever.

      49.    Plaintiff satisfied Section 448.110(6)(a)’s prerequisite of sending notice

to the employer prior to initiating an action under Florida’s Minimum Wage Act,

and providing the employer fifteen (15) days from the date the notice is delivered

for them to resolve the claim. See Exhibit “A” attached hereto.

      50.    As a result of Defendant’s violations of Florida’s Minimum Wage Act,

Plaintiff has suffered damages by being denied minimum wages in accordance with

the Act, in amounts to be determined at trial, and is entitled to recovery of such

amounts, liquidated damages, prejudgment interest, attorneys’ fees, costs, and other



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compensation.

                COUNT IV: VIOLATION OF 26 U.S.C. § 7434(a)

       51.   Plaintiff adopts by reference, as if set out fully and completely in this

Count, paragraphs 1-31 of this Complaint.

       52.   Pursuant to 26 U.S.C. § 7434, “if any person willfully files a fraudulent

information return with respect to payments purported to be made to any other

person, such other person may bring a civil action for damages against the person so

filing such a return.”

       53.   At all times relevant hereto, Defendant failed to properly classify

Plaintiff as an employee.

       54.   Defendant issued information returns with respect to payments made to

Plaintiff.

       55.   The information returns issued by Defendant related to payments made

to Plaintiff were fraudulent.

       56.   Defendant willfully and knowingly issued the fraudulent information

returns relating to the payments made to Plaintiff.

       57.   In connection with Defendant’s willful submission of fraudulent

information returns relating to payments made to Plaintiff, Plaintiff demands costs

attributable to resolving deficiencies, damages of $5,000.00, damages resulting from

additional tax debts and additional time/expenses associated with any necessary



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correction, all costs and attorneys’ fees incurred in prosecuting this claim, and for

such further relief as the Court deems just and equitable.

     COUNT V: UNPAID WAGES UNDER FLORIDA COMMON LAW

      58.    Plaintiff adopts by reference, as if set out fully and completely in this

Count, paragraphs 1-31 of this Complaint.

      59.    Plaintiff worked for Defendant during the statutory period.

      60.    Defendant agreed to pay Plaintiff for his services.

      61.    Defendant failed to compensate Plaintiff for all wages owed for the

work performed.

      62.    Accordingly, Plaintiff demands judgment against Defendant for an

amount equal to Plaintiff’s unpaid back wages, all costs and attorneys’ fees incurred

in prosecuting this claim in accordance with Florida Statute § 448.08, and for such

further relief as this Court deems just.

                           DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury on all questions of fact raised by this Complaint and on all

other issues so triable.

                              PRAYER FOR RELIEF

      WHEREFORE, based on the foregoing, Plaintiff hereby demands the above

referenced economic damages, liquidated damages, compensatory damages,



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reasonable attorneys’ fees and costs incurred in this action, and all further relief that

this Court deems just and appropriate.

DATED this 25th day of June, 2021, and respectfully submitted by:



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